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                              UNITED STATE DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                               CASE NO. 24-14035-CR-CANNON

  UNITED STATES OF AMERICA,

          Plaintiff,
   v.

  MARTINEZ BUILDERS SUPPLY, LLC
  d/b/a EAST COAST TRUSS,
  a Florida Limited Liability Company,

          Defendant.
                                           /

                 ORDER ACCEPTING REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court upon the Report and Recommendation entered by

  Magistrate Judge Shaniek M. Maynard Following Change of Plea Hearing [ECF No. 25]. On

  October 28, 2024, Magistrate Judge Maynard held a Change of Plea hearing [ECF No. 15] during

  which Carlos Martinez, the Corporate Defendant’s President and Managing Member, pled guilty

  on behalf of the Corporate Defendant to Count 1 of the Information [ECF No. 1] pursuant to a

  written plea agreement and factual proffer [ECF Nos. 16, 17]. Magistrate Judge Maynard ordered

  the Corporate Defendant to file a duly authorized Resolution of its Board of Directors authorizing

  Carlos Martinez to enter the Plea Agreement on behalf of the Corporate Defendant [ECF No. 20].

  Defendant filed the required notice indicating that the Board of Directors of Martinez Builders

  Supply, LLC, consents, approves, and authorizes Carlos Martinez to enter the Plea Agreement on

  behalf of the Corporate Defendant [ECF No. 24]. Magistrate Judge Maynard thereafter issued the

  instant Report, recommending that the Court accept Defendant’s guilty plea to Count 1 of the

  Information, that the Court find Defendant to have freely and voluntarily entered its guilty plea,

  and that the Court adjudicate it guilty of the offense [ECF No. 1]. No objections to the Report
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  have been filed, and the time to do so has expired.

          The Court has conducted a review of the record and finds no error in the Report. Therefore,

  it is ORDERED AND ADJUDGED as follows:

          1. The Report and Recommendation [ECF No. 25] is ACCEPTED.

          2. The guilty plea entered into by Defendant Martinez Builders Supply, LLC as to

             Count 1 of the Information is ACCEPTED.

          3. Defendant Martinez Builders Supply, LLC is adjudicated guilty of Count 1 of the

             Information, which charges it with conspiracy to harbor aliens by means of

             employment, in violation of Title 8 U.S.C. § 1324(a)(1)(A)(iii) and 1324(a)(1)(A)(v)(I)

             [ECF No. 1].

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this16th day of December

  2024.




                                                        ________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE


   cc:     counsel of record
